 

Case 3:21-cv-00571-MEM-DB Document 11 Filed 09/23/21 Page 1of1

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF PENNSYLVANIA

RAKIEN FIGUEROA,

Petitioner : CIVIL ACTION NO. 3:21-0571
Vv. : (JUDGE MANNION)
WARDEN ERIC BRADLEY,
Respondent
ORDER

 

For the reasons set forth in the Memorandum ofthis date, IT IS
HEREBY ORDERED THAT:

1. The petition for writ of habeas corpus (Doc. 1) is DISMISSED
for lack of jurisdiction.

2. The Clerk of Court is directed to CLOSE this case.

6] Malachy €. Mannion
MALACHY E. MANNION
United States District Judge

DATE: September 23, 2021

21-0571-01-Order

 
